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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


UNITED STATES OF AMERICA                            )
Plaintiff,                                          )
                                                    )
vs.                                                 ) Case No. 5:22-CR-00327-XR
                                                    )
                                                    )
(9) FRANCISCO ARREDONDO-                            )
COLMENERO A/K/A “PANCHO” A/K/A                      )
“PANCHITO A/K/A “PARIENTE”                          )
Defendant                                           )

                          GOVERNMENT’S MOTION TO UNSEAL

 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW the United States of America, by and through the undersigned

 Assistant United States Attorney for the Western District of Texas, and files this Motion to

 Unseal the First Superseding Indictment in this cause number as to Defendant Francisco

 Arredondo-Colmenero.

        WHEREFORE, PREMISES CONSIDERED, the Government requests that the Court

 order the First Superseding Indictment be unsealed as to Defendant (9) Francisco Arredondo-

 Colmenero.


                                                    Respectfully Submitted,

                                                    JAIME ESPARZA
                                                    UNITED STATES ATTORNEY


                                                     /s/ AMANDA C. BROWN
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